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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re                                                             )      Chapter 11
                                                                      )
    TOUGH MUDDER INC., et al.,1                                       )      Case No. 20-10036 (CSS)
                                                                      )
                              Debtors.                                )      Joint Administration Requested
                                                                      )

            CERTIFICATE OF COUNSEL REGARDING OMNIBUS HEARING DATE

                     The undersigned hereby certifies as follows:

                     1.       In response to the undersigned counsel’s inquiries, Derek C. Abbott, Esq., the

chapter 11 trustee (the “Trustee”) for Tough Mudder Inc. and Tough Mudder Event Production Inc.

(collectively, the “Debtors”) has been assigned an omnibus hearing date by the Honorable

Christopher S. Sontchi, Chief United States Bankruptcy Judge.

                     2.       Enclosed herewith is a proposed form of order (the “Omnibus Hearing

Order”) that states with specificity the time and date of the tentatively scheduled omnibus hearing.

                                                   [Signature follows]




1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
            number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’
            address is 15 MetroTech Center, Brooklyn, NY 12201.
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             WHEREFORE, the Trustee hereby respectfully requests that the Court enter the

Omnibus Hearing Order attached herewith.

 Dated: February 14, 2020          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
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                                   Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                                   11 Trustee to Tough Mudder Inc. and Tough Mudder
                                   Event Production Inc.




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